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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Good Smile Company, Inc.                     )
                                             )      Case No. 1:23-cv-16455
v.                                           )
                                             )      Judge:         Hon. Mary M. Rowland
THE PARTNERSHIPS and                         )
UNINCORPORATED ASSOCIATIONS                  )      Magistrate:    Hon. Beth W. Jantz
Hon. IDENTIFIED ON SCHEDULE “A”              )
                                             )

                                FINAL JUDGMENT ORDER

        This action having been commenced by Plaintiff, Good Smile Company, Inc. (“Good

Smile”) against the defendants operating the websites/webstores identified on Schedule “A” to

Plaintiff’s Complaint (collectively, the “Infringing Webstores”), and Plaintiff having moved for

entry of Default and Default Judgment against the defendants not already dismissed, identified in

Appendix “A” (collectively, the “Defaulting Defendants”);

        This Court having entered upon a showing by Plaintiff a temporary restraining order and

preliminary injunction against Defaulting Defendants;

        Plaintiff having properly completed service of process on Defaulting Defendants,

providing notice via e-mail, along with any notice that Defaulting Defendants received from the

ecommerce platforms, hosts, and payment processors, being notice reasonably calculated under

all circumstances to apprise Defaulting Defendants of the pendency of the action and affording

them the opportunity to answer and present their objections; and

        Defaulting Defendants having failed to answer the Complaint or otherwise

plead, and the time for answering the Complaint having expired;

        THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants because Defaulting Defendants directly target their business activities toward
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consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Infringing Websites through which Illinois residents can purchase products bearing

counterfeit versions of NENDOROID, NENDOROID EZ, NENDOROID-SERIES, and GOOD

SMILE COMPANY marks, U.S. Reg. Nos. 4939118, 5393702, 4303251, 4939117, and 4340551

(collectively, the “Mark” or “Marks”).

       The registration is valid, unrevoked, and uncancelled. Defendants use the mark and

display images protected by trademark and copyright on the infringing websites without

Plaintiff’s permission or consent.

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

   IT IS FURTHER ORDERED that

   1. Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

and all persons acting for, with, by, through, under or in active concert with them be permanently

enjoined and restrained from:

    a. using the NENDOROID trademark or any reproductions, counterfeit copies or colorable

       imitations thereof in any manner in connection with the distribution, marketing,

       advertising, offering for sale, or sale of any product that is not a genuine Good Smile




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   product or not authorized by Plaintiff to be sold in connection with the NENDOROID

   Trademark;

 b. passing off, inducing, or enabling others to sell or pass off any product as a genuine Good

   Smile product or any other product produced by Plaintiff, that is not Plaintiff’s or not

   produced under the authorization, control or supervision of Good Smile and approved by

   Plaintiff for sale under the NENDOROID Trademark;

 c. committing any acts calculated to cause consumers to believe that Defendants’

   Counterfeit Products are those sold under the authorization, control or supervision of

   Good Smile, or are sponsored by, approved by, or otherwise connected with Good Smile;

 d. further infringing the NENDOROID trademark and damaging Plaintiff’s goodwill;

 e. otherwise competing unfairly with Plaintiff in any manner;

 f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

   storing, distributing, returning, or otherwise disposing of, in any manner, products or

   inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

   offered for sale, and which bear any of the NENDOROID trademark, or any

   reproductions, counterfeit copies or colorable imitations thereof;

 g. using, linking to, transferring, selling, exercising control over, or otherwise owning or

   operating the infringing webstores, websites, or any other domain name that is being used

   to sell or is the means by which Defendants could continue to sell Counterfeit Products;

 h. operating and/or hosting infringing webstores, websites and any other domain names

   registered or operated by Defendants that are involved with the distribution, marketing,

   advertising, offering for sale, or sale of any product bearing the NENDOROID trademark

   or any reproductions, counterfeit copies or colorable imitations thereof that is not a




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       genuine Good Smile product or not authorized by Good Smile to be sold in connection

       with the NENDOROID trademark;

    i. registering any additional stores, websites, or domain names that use or incorporate any of

       the NENDOROID trademark; and

    j. using images covered by the PLAINTIFF’s Copyrights or any of PLAINTIFF’s original

       photographs that Good Smile uses to advertise the sale of original Good Smile products.

2. Those in privity with Defaulting Defendants and with actual notice of this Order, including

ecommerce platform providers, such as Alibaba, Ali-Express, Amazon, eBay, Joom, NewEgg,

Wish, Walmart, etc., shall within three (3) business days of receipt of this Order:

    a. disable and cease providing services for any accounts through which Defaulting

       Defendants, in the past, currently or in the future, engage in the sale of goods using the

       NENDOROID Trademarks, including, but not limited to, any accounts associated with

       the Defaulting Defendants listed on Schedule “A” not dismissed from this action; and

    b. disable any account linked to Defaulting Defendants, linked to any e-mail addresses used

       by Defaulting Defendants, or linked to any of the Infringing webstores/websites.

    Pursuant to 15 U.S.C. § 1117(c)(1), Plaintiff is awarded statutory damages from each of the

Defaulting Defendants in the amount of Fifty Thousand Dollars (U.S.) and No Cents

($50,000.00) for using counterfeit NENDOROID Trademarks on products sold through at least

the Infringing webstores/websites. As to each Defaulting Defendant, until such Defaulting

Defendant has paid in full the award of statutory damages against it:

    a. Alibaba, Ali-Express, Amazon, eBay, Joom, NewEgg, Walmart Wish (collectively the

        “Platforms”) and PayPal, Stripe, Payoneer, WorldFirst, World First Asia Limited, World

        First Markets Limited, World First USA, Inc., Bill.com, Pingpong, Payeco,




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    Umpay/Union Mobile Pay, Moneygram, Western Union and any of their subsidiaries

    (collectively the “Payment Processors”) shall, within two (2) business days of receipt of

    this Order, permanently restrain and enjoin any accounts connected to Defaulting

    Defendants, Defaulting Defendants’ Infringing webstores/websites identified in

    Schedule “A”, except those dismissed, from transferring or disposing of any money or

    other of Defaulting Defendants’ assets.

 b. All monies currently restrained in Defaulting Defendants’ financial accounts, including

   monies held by the Platforms or the Payment Processors are hereby released to Plaintiff

   as partial payment of the above-identified damages, and are ordered to release to Plaintiff

   the amounts from Defaulting Defendants’ Platform or Payment Processor accounts within

   ten (10) business days of receipt of this Order.

 c. Plaintiff shall have the ongoing authority to serve this Order on the Platforms or the

   Payment Processors in the event that any new accounts controlled or operated by

   Defaulting Defendants are identified. Upon receipt of this Order, the Platforms or the

   Payment Processors shall within two (2) business days:

       i. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

         Defendants’ Infringing webstores/websites, including, but not limited to, any

         accounts connected to the information listed in Schedule “A” of the Complaint, the

         e-mail addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and

         any e-mail addresses provided for Defaulting Defendants by third parties;

       ii. Restrain and enjoin such accounts or funds from transferring or disposing of any

         money or other of Defaulting Defendants’ assets; and




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           iii. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff as

             partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

       4. Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks, savings

and loan associations, payment processors, or other financial institutions (collectively, the

“Financial Service Providers”) in the event that any new financial accounts controlled or

operated by Defaulting Defendants are identified. Upon receipt of this Order, the Financial

Service Providers shall within two (2) business days:

    a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

       Defendants’ Infringing webstores/websites, including, but not limited to, any accounts

       connected to the information listed in Schedule “A” of the Complaint, the e-mail

       addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and any e-mail

       addresses provided for Defaulting Defendants by third parties;

    b. Restrain and enjoin such accounts or funds from receiving, transferring or disposing of

       any money or other of Defaulting Defendants’ assets; and

    c. Release all monies restrained in Defaulting Defendants’ financial accounts to Plaintiff as

       partial payment of the above-identified damages within ten (10) business days of receipt

       of this Order.

    5. In the event that Plaintiff identifies any additional webstores, websites, domain names or

financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any

supplemental proceeding to Defaulting Defendants by e-mail at the email addresses identified in




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Exhibits 1 to the Declaration of David Gulbransen and any e-mail addresses provided for

Defaulting Defendants by third parties.


IT IS SO ORDERED.



                                                   E N T E R:


 Dated: May 2, 2024

                                                   MARY M. ROWLAND
                                                   United States District Judge




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                                     Appendix A

Doe   Store Name                                          Merchant ID
1     Shenzhen Zhongshiqi Technology Co., Ltd.            zhongshiqitech
2     Yiwu Congfen E-Commerce Firm                        conphen656122
3     Dongguan Xunxiang Electronic Commerce Co., Ltd.     dbz
4     Hefei Ruyi Image Industrial Co., Ltd.               hfruyi
5     Shenzhen Leguoguo Trading Co., Ltd.                 leguoguotrading
6     Shenzhen Shenman Technology Co., Ltd.               shenmantech
7     Dongguan Songli Plastic Industry Co., Ltd.          songli-figure
8     Suzhou Shengbei Electronic Technology Co., Ltd.     szshengbei
9     Shenzhen Tianchenxing Technology Co., Ltd.          toxgoct
10    yiwu wangfeng trading co.,ltd                       ywwangfeng
11    Zhongshan Benjian Electronic Commerce Co., Ltd.     benjiandianzi
12    Global Figure Store                                 1100389720
13    Guangzhou Sunningdale Trading Co.,Ltd               1100525364
14    Posters Prints World Store                          1100851485
15    Hot-Oscar Home                                      1100956393
16    Caven's Customized Art Store                        1100997242
17    ZTXCUSTOM                                           1101027039
18    Iridescent Cloud Store                              1101028628
19    ANNARUSSE Quality Store                             1101090818
20    Love Painting                                       1101203964
21    Kingsman Customized Art Store                       1101226337
22    Anime Model Store                                   1101268146
23    SELLWORLDER FigureToy Store                         1101269127
24    cp0fun Store                                        1101278146
25    Fan Xi Store                                        1101284758
26    Neko-Anime Store                                    1101284999
27    Winitoy VIP Store                                   1101299877
28    buildingblocks Store                                1101315562
29    AnimeOtakuHome Store                                1101324120
30    Toy Hobby Store                                     1101329598
31    Yuan Toy Store                                      1101337318
32    Figures Toy House Store                             1101342958
33    AAHengBei Store                                     1101346575
34    Children Disneytoy Club Store                       1101385726
35    Ty Beanie Store                                     1101390523
36    RC base Store                                       1101394038


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37   dropsshopping Store                                  1101396174
38   YujioToys Store                                      1101397329
39   Yiles Painting Store                                 1101405925
40   MAGC-Figures Store                                   1101431309
41   Toy Toy Store                                        1101447263
42   Shop5952044 Store                                    1101500982
43   CNtoys Store                                         1101514040
44   Shop910348045 Store                                  1101520149
45   Esencan toy Store                                    1101541537
46   ChinaToy Store                                       1101562290
47   YHTEAMTOYStore                                       1101579022
48   Anime Homestead 01 Store                             1101594508
49   Youkenlock Store                                     1101606918
50   Global-Anime-Figure Store                            1101652305
51   Anime Figures Store                                  1101686681
52   Shop911776716 Store                                  1101708579
53   SR Toy Store                                         1101717224
54   South Wood Official Store                            1101740811
55   nizhenhaokan Store                                   1101772972
56   BX95 ARTStore                                        1101795031
57   Gxwhs Store                                          1101796193
58   Enchanted Toy Store                                  1101872338
59   Jiaojiao toy Store                                   1101890502
60   Figures DropShipping Store                           1101906096
61   Model Toy House Store                                1101922074
62   JMYDisney toys Store                                 1101927931
63   Shop912624290 Store                                  1101941095
65   Meta universe toy Store                              1101980052
66   Young Play Store                                     1101984014
67   Model TStore                                         1101984211
68   JUNMU Anime Figure Store                             1101988907
69   CGN Painting Store                                   1102013625
70   Anime Toy Club Store                                 1102017255
71   HUXPainting Store                                    1102020241
72   Cartoon trend stickers hand account Store            1102027254
73   Figure Toys Store                                    1102030158
74   CGN BANDAI Painting Store                            1102050565
75   mifen crafts Toy Manufacturing Store                 1102051775
76   Figure Desktop Store                                 1102052324


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77    ARTPIC Store                                         1102064030
78    AME Painting Store                                   1102066125
79    Vintage Posters Store                                1102083008
80    Bandai Jiesen Anime Figure Toy Store                 1102091346
81    Betty Boop Art Store                                 1102129885
82    Michelle Figure Store                                1102136808
83    Toy Town Store                                       1102138756
84    Bandai Figure Toy Store Store                        1102144240
85    Figma Bandais Store                                  1102158316
86    ANINE TIME BOYToy Store                              1102160992
87    Bandai Monopoly Store                                1102168002
88    Shop1102180927 Store                                 1102181858
89    YuanMan Toys Store                                   1102193236
90    Molten Store                                         1102196608
91    Shop1102208909 Store                                 1102214866
92    Emily figure Store                                   1102249450
93    Action Figure Model Store                            1102249505
94    super affordable Store                               1102250983
95    Boutique Anime Toy Store                             1102280273
96    Mia Figure Store                                     1102297211
97    Sexy Figure 0916 Store Store                         1102312547
98    Bandai KUMI Model Toy Store                          1102318249
99    Anime-Figures Store                                  1102319549
100   Toy23 Store                                          1102346200
101   Toy22 Store                                          1102351115
102   Aurora Ten Miles Store                               1102400084
103   O-party Store                                        1102494144
104   Galaxy Toy Store                                     1102510062
105   Top Quality Toys Store Store                         1102516102
106   Sanrio Premium Store Store                           1102564745
107   Firefly Toy Store                                    1102590358
108   Big Bear Dollhouse Store                             1102602482
109   Shop1102597323 Store                                 1102604252
110   Bonnie Shore Store                                   1102626346
111   Oulu Toys Store                                      1102628335
112   Google Recommended Store                             1102662820
113   Boutique Figures Store                               1102667410
114   Dream Fun Store                                      1102684593
115   M0M0 Store                                           1102723078


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116   Bandai Pegasus Toy Store                              1102728150
117   Otaku Collectibles Store                              1102745273
118   Bandai Flagship Anime Store Store                     1102753342
119   Shop1102765007 Store                                  1102763023
120   Bandai SQ Toy Store                                   1102770053
121   CN Figures Store                                      1102770857
122   Flying Star Store                                     1102778386
123   BANDAI Professional Store                             1102786888
124   Shop1102802816 Store                                  1102800883
125   Qing Toys Store                                       1102801289
126   Shop1102808519 Store                                  1102809371
127   Classic Toyss Store                                   1102816313
128   KKGlobal Store                                        1102819331
129   BANDAI Oulu Official Flagship Store Store             1102821608
      BANDAI Oulu Gundam Dragonball One Piece King Figura
130   Official Flagship Store                               1102826163
131   OULU BANDAI Figura Official Toys 6 Store              1102829359
132   YAYAToy Store                                         1102884700
133   BANDAI Anime Figures Toys Store Store                 1102901337
134   GKGlobal Store                                        1102901535
135   Fantasy World Toy Store                               1102912739
136   Neo Toy Store                                         1102954020
137   Firefly Toy Store                                     1102988591
138   Bandai Unique Toy Store                               1102995019
139   Fei Jing Toy Store                                    1102998056
140   Garage Kits Toy Paradise Store                        1103077196
141   At its peak                                           A103GX66PPVPCG
142   obbyo                                                 A10D9WE3FXOGXR
143   settlement plan                                       A10KO90E2YF8QJ
144   north-south                                           A11128BUW1XT9P
145   YU-CHENGWEI                                           A119A7I3CP73UO
146   queyanshangmao                                        A11QHASXCIKJOY
147   yangquanlixishangmaoyouxiangongsi                     A121F07Z05VNDA
148   Meeting guo                                           A12H62V9MLYCFY
149   ÈïøÊ≤ôË≤åËßÖÂïÜË¥∏ÊúâÈôêÂÖ¨ Âè∏                       A12L7M284I94H7
150   huanxihuanbaihuo                                      A12TIURVTODKWD
151   Irene6953                                             A14CTTSAI3AG4R
152   Chengdu Weiyong                                       A151QFZNMRZE55
153   HUANGCHENGLIU                                         A16R0EI1EIQGY1


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154   WANG-XINRAN                                          A16Z3RNPV3Q8R1
155   MYANIMESTORE                                         A174U4UURK68S0
156   yongdashunshangmao                                   A17A1Y8I0O8YLA
157   Forest and Rotation                                  A17H1SXXVKWKKV
158   MiaoZhangLin-shop                                    A17PBL5606O281
159   Putian Licheng Hanshi Jue Cosmetics Co., Ltd         A18C10MQ7D9IJS
160   LC‚ôàshop                                            A194PH0BBCL46R
161   youmeishangmao                                       A19B09HJ8KHV54
162   firefly wjj                                          A1AW6Q8JF9LRUX
163   hufoshenegqpow                                       A1BMOYCRZMA7B7
164   shanxiruiweirouguangnanshangmaoyouxiangongsi         A1CLMSZSQ9J9E1
165   YangHaiFang-shop                                     A1DWD4C7K2Y3VY
166   ChenBin-shop                                         A1E3H4ROI9DZNA
167   liyanbaihuochaoshi                                   A1EL7OGOL420U4
168   scl996                                               A1ENL93VT84YZI
169   jishangmao123                                        A1FH50E66YGEZ9
170   yankechengshangmao                                   A1FM8453OLPR6C
171   Considerate writing                                  A1GHQPUWDHMYVS
172   Nicole999                                            A1GQVXH0FCLYWX
173   sanyacaozhiqiangkejiyouxiangongsi1                   A1HDUK1KTO4I2D
174   KIAN-LLC                                             A1HS0CLLO60VII
175   zhangqiandedianpu                                    A1IGLDM15CXCV6
176   ÂõΩËøêÂïÜÈì∫                                         A1IRHO11QAZRYR
177   LIN-YINGCHUN                                         A1IRZIZ8RECKNK
178   ÂÆáÊù∞ÂïÜÈì∫                                         A1J4L60390D6CI
179   WangLiLiq                                            A1J4ZV9JUEGXPZ
180   honggutanquxihaibaihuodian                           A1JC5ZM6YR8EX2
181   dongguanshichanyushangmaoyouxiangongsi               A1JISRBC7E412H
182   Liuyang Jiasunwei Electronic Commerce Co., Ltd.      A1JM1AFKNJOAXF
183   diranshangmao                                        A1KYLU6ZERWTY1
184   YIQI-WANG                                            A1LLO6ES5NM4VY
185   ÂçéÂ∑ùÂïÜÈì∫                                         A1LOI68G132DNH
186   Onigiri-us                                           A1M0S7R8F9NE02
187   Qingshi Mingyue                                      A1NDCIRTKZO4KP
188   Èª ÑÈ∏øÁõõÁ≥ñÊûú                                     A1NK1UZFFIJLVY
189   haoyongjiashangmao                                   A1O67YSM4YYOBK
190   LI-YOULIANG                                          A1P2LFY88XS6D9
191   MA-QI                                                A1P6LZQ0GGU05N
192   YIRUI POSTER                                         A1R8LWLUO8TRHZ


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193   tianhaijunwpeo                                       A1RZSUQS3CD9XD
194   shenghongbaihuo                                      A1SIMMB1TTUNO8
195   Dxh Us shop                                          A1SNWEWAYJJA9G
196   Source of Victory                                    A1SWLYLQDRSAE8
197   nanchangshiqingshanhuquqianjunbaihuodian             A1SWWDUAVJ9NDV
198   ZHDZSWU                                              A1U0DLUPVP0XKT
199   JWCSH                                                A1UQOPM5GSOJMH
200   RENHAIJUN                                            A1VQ9BU2GWTBDH
201   jucanriyongpindian                                   A1VQL8J5P50RXW
202   CAO-XINGXING                                         A1WKD2KNMJUZTA
203   zjsdgsm                                              A1XU5UWVK04XPQ
204   ÂÆ∂ÊÖßÂïÜÈì∫                                         A1YYYK9NT1402I
205   HuangXiaoYaSJALKFJKDSAJIOFUACXV                      A207EPKD75BDL8
206   Putian Chengxiang District Dingshixiang Trade Co.,   A21QWGNY3VJMGQ
207   ÈïøÊ≤ôËßÖÈÅ•ÂïÜË¥∏ÊúâÈôêÂÖ¨ Âè∏                      A229SP8NCS11VU
208   meizhou123                                           A22KI3N424732P
209   Ê∞∏ÊòéÂïÜÈì∫                                         A235CQ96DFW9TF
211   guoyangxianlianghuishangmaoyouxiangongsi             A24A9UKLST8CPM
213   Chengdu Xiu Hui Gou                                  A24JTMCE77AI13
214   Firestorm Wu                                         A24MP92ATWATDY
215   Hangguo                                              A258W7PIBEIN3C
216   HuangYouJinUS                                        A26LMQ0S261PMT
218   dangtuwonawangluokeji                                A27WAJQD609TYU
219   fangfenshangmao                                      A28Y24L33ESWX3
220   foshanshihengzhitaodianzishangwuyouxiangongsi        A295U9XFOMA4Q9
221   qianshishangmao                                      A29B813LCZOY0U
222   Âà©ÊñáÂïÜÈì∫                                         A29PCR90HX9IHS
223   Xiantian Tower                                       A2AGQWT87JXWUM
224   AN-HJZ                                               A2AO2OANDWYYCN
225   ÊµéÂçóËàûÂä®ÂçøÊò•ÁîµÂ≠êÂïÜË¥∏ÊúâÈôê                 A2AQ6V2OUJJ90D
226   Putian Licheng Tangyejun Trade Co., Ltd              A2AUW9WIITHLJD
227   sanzhiyin                                            A2B6M9D4PBMCKQ
229   NINGPO-AI                                            A2BF9R4CQJLF0Z
230   Vincentboy                                           A2BONGL37SBRFF
231   Qingwu Xiaofeng                                      A2CN57NQOC0IK0
232   DINGLIBH                                             A2CNCRG43BKMRT
233   JINXIN2003                                           A2E1RHPUQ5J04L
234   linlihuahaibao                                       A2EGCBU5GLJ6F0
235   LMYstore                                             A2EIMTZNU6CKK5


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236   ËΩ©Â∞ä                                               A2ELEWVDN8NASB
237   changyubaihuo                                        A2F9B0VGQTVUDY
238   XiaoKeYong-shop                                      A2FSK7M1WEWICK
239   Ê•†Ê•†ÂïÜÈì∫                                         A2G5HIEHHIET2W
240   ÊñáÂêõÂïÜÈì∫                                         A2G8G34QWX8ZU4
241   wenchengshangmaohg                                   A2GEK4FK8ERW74
242   Feigao Hangxiang                                     A2HFZU2OWGRTUY
243   Light integration                                    A2HJC8J6GH7TNR
244   shang chuan                                          A2HTY6S8NHDKGU
245   ruiwenshangmao1                                      A2I8QDUK5CB041
246   shanxiningyiluoshangmaoyouxiangongsi                 A2JF02P4KQDPMN
247   Putian Chengxiang Jinglianpeng Garment Trade Co.,    A2K1IHTCMO4H29
248   XuHongLiang-shops                                    A2K7YV5WRXU7NS
249   XU-XIAOYU                                            A2KMNSO9RDSWX8
250   Chengdu Lanyu                                        A2KW7HWS995X3I
251   limengqiao                                           A2LP1I8SKZ9ZZ4
252   SmilingAngelGlobalSales                              A2NWL23UCV2MTD
253   Âù§Âù§ÂïÜÈì∫                                         A2O94C7DF9WN8H
254   EVGG LLC Corp                                        A2OQ2H6ZSSTWBK
255   Nmomoytu SOLE AUTHORIZED                             A2PJS44JZI19NS
256   LuSheng-q                                            A2PL2I3OND6V46
257   SYZNKJ                                               A2PQEUIY6XP3JG
258   Natoki                                               A2Q1F5LAC43Q8C
259   BaoWei-Lin                                           A2QD06DA8KK1J5
260   yanglongshangmao                                     A2QIEAHKJIPDHZ
261   jianmanshangmao                                      A2QK2ZJC5JMU9Y
262   Antiman shop                                         A2R4NXYBT16LWD
263   YONGYU-LI                                            A2RESY4MMPZSJV
264   Êº ÜÂïÜË¥∏ÊúâÈôêÂÖ¨ Âè∏                              A2RRR8LHYQUZZ3
265   xixianxinqukonggangxinchengtaihuabaobaihuodian       A2TIVEQK76GKYW
266   yueyangbofeidianzishangwuyouxiangongsi               A2TKLQVDW3WMCT
267   Heoweng store                                        A2TXYTYWTIR1BM
268   faliushangmaores                                     A2UBV5SRWYA3TE
269   MALA-HIMI                                            A2UEBZSSH5BM37
270   ÁßÄÊò•ÂïÜÈì∫                                         A2UFNK2O2IJJAN
271   EVRS LLC                                             A2W42E2Y66B94P
272   lvxiaolong123456                                     A2XHSRCPFYRFVP
273   guangzhouqingchishangmaoyouxiangongsi                A2XK8AE0MNDUUB
274   dongguanshiyuxuanshangmaoyouxiangongsi               A2ZKML4RX13ULH


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275   Easyenjoy                                            A303FOCHBOEPE3
276   XuanDaBaiHuo                                         A304YMG135RB6B
277   qingyinyueshangmao12                                 A30A6B1RH9GLTD
278   ZHANGBO-SHOP                                         A30DLPQCRBNGCP
279   jiachuanjiashangmao                                  A30QQ0LI8VEEEE
281   Putian Licheng Zhanglongzhi Trade Co., Ltd           A314JD3HS114X7
282   qiuquanshengdedian                                   A31MHK377GBEIZ
283   Èùí‰∫ëÂïÜÈì∫                                         A31UVPITD4PZY1
284   fhryp                                                A322AQSL7JFMF
285   Âè∂ÈîêÁ≥ñÊûú                                         A329X7973C8IB3
286   miekaiyuelieshangmao                                 A32CT9037F77ZR
287   zhongshenfengshangmaoxv                              A333NBRLDC8TKE
288   Bridge online retailers                              A33N9JH9GQAGU9
289   chongxuerwuhan                                       A34LYNSSEFA4IE
290   LIU-JIALIANG                                         A35210JEY7O9ZH
291   muxiangshangmaoguoji                                 A376XJ2U833DUP
292   HEIJIAN                                              A377DQF9H1HCR1
293   Putian Licheng Moheicheng Trade Co., Ltd             A37O5F45BI0DPP
294   jinghuangshangmaosef                                 A395CT0913B004
295   kunmingzuijiewangluokejiyouxiangongsi                A39EGFVM3PZZGV
296   sanhuobaihuodian                                     A3AONOV2RHU3AL
297   Ê±üËøûÂïÜÈì∫                                         A3B9SQJMWM2MTD
298   Putian Chengxiang District Dahupi E-commerce Co.,    A3CMIC8GYPPFBK
299   guoyangxianyuhuishangmaoyouxiangongsi                A3CTRTH8T0BHOF
300   LI-XING                                              A3E8GFKU9FRHF1
301   Absolutely detailed                                  A3GKVQN3AWNJA7
302   Colored Peas                                         A3HFLLM5WNCDX6
303   ÊñáÂÖ∑Áª èÈîÄÈÉ®                                     A3HPT1WNKJDC7N
304   wuxiaobing-cn                                        A3J5J56I4914SS
305   laixiaoxingtg                                        A3JS0NAIC9VA86
306   bohuishangmao12                                      A3KDRL2MK1N4WN
307   ÁéãËøõÁéâÁôæ Ë¥ßÂ∫ó                                  A3L1HGCXTZU4KK
308   ÊôìÂΩ¨ ÂïÜÈì∫                                        A3MJCEHCC071AQ
309   qianchengfacai                                       A3MJQXCFG0LS1U
310   GDDESS                                               A3MRIWIC7R060J
311   Panduo Cunlan                                        A3MY60V4W45DU4
312   Changsha Weibeilan Trading Co., Ltd.                 A3N27M8J10R70M
313   Covert publication                                   A3NEOPP4RGSHV7
314   jusaichao123                                         A3NMYUBK1P37CH


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315   tingting hot sale store                              A3NO2TCCDCUNLI
316   xihaoshangmao12                                      A3NSN9B6R3JZU4
317   JujirongLTD                                          A3NWRF8R35HA82
318   binyunbaihuodian                                     A3OCT0SMWY2LD8
319   chuangdashangmao                                     A3OMHE2KT01JCP
320   ketichengshangmao                                    A3OO059Z6XS70M
321   Binzhou Guya E-commerce Co., Ltd                     A3PYBDJQNRWB5E
322   Â∞ïÂÖ∞ÂïÜÈì∫                                         A3QC60FN7WEGDB
323   xiangtishangmao123                                   A3RQVTYLLSZI09
324   yangjianxunus                                        A3RX39ZZXPEGIL
325   Putian Chengxiang Matiaojun Trade Co., Ltd           A3SF4B26TLGIIT
326   GUAN-RUNHAO                                          A3SKB12AX00AZW
327   sheng poster                                         A3T3C216L0OA7Q
328   Sister department store                              A3TB9Q44V1P7CI
329   haoyishangmao123                                     A3UY9F8F6067BB
330   huanshenjunshangmao                                  A3VG59RVNQ9U4L
331   fuxiaoningdexiaodian                                 A3VO0UD09107FB
332   RUNDASPORT                                           A47OVAR4L1B0G
333   wangxiaohong shop                                    A4G10N3GHJXTI
334   Putian Licheng Zhaopodleisure Cosmetics Co., Ltd     A52RF0XY5FKX5
335   ningfanshangmao                                      A5R9UE7P2VO9G
336   KaKa Life                                            A678MHPYMN9BY
337   zhouqiuhongshangmaox                                 A6VC72BVT68NO
338   Ê¢ÅÊüèÂÆâÁ≥ñÊûú                                      A7MGY01NKTAT1
339   xixianxinqukonggangxinchengyingquefeibaihuodian      A86TJUJLZR7QK
340   xianjinxiaoshangmaodian                              A8ADKPO9WJR4X
341   Gwyneth Kane                                         A93OE3MEJBMZP
342   kuahoushuiguoshanghang                               AAOMJOB5BCX7W
343   Putian Chengxiang District Yayongcui Sports Goods    AB99FJ6Y5NPXI
344   mingjuriyongpindian                                  AC50HJCD5YKXS
346   hongdongxianzhiyongmaoyibu                           AEIYZBC686HDQ
347   dinggeishangmaosdg                                   AEZ69MG8TG9S2
348   ZiBoDianZi                                           AEZPQNMKRTEWX
349   guodongcheng                                         AFFOMS79LWQ5X
350   T-shopping                                           AFJ07LDQ7XGRI
351   jujiewangluokeji                                     AG8II4OT0PIG7
352   bozhoushiyilongbaihuoyouxiangongsi                   AGH63PGPHC0WZ
353   zhouyongjiashangmao                                  AGJAQEN5ETZMC
354   lijunshangmao11                                      AGPCBBQ5MOC1E


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355   duansuning                                           AH5KCXUHIMZT7
356   Âº †-Ê∫êÂ•ö                                          AHG41KGPYXGZG
358   Ê≠£ÂÆáÂïÜÈì∫                                         AIGR2DK4XL5TM
359   ÁèçÁèçÂïÜÈì∫                                         AJ0OY6EYNOU3S
360   maomingshixiongfeishangmaoyouxiangongsi              AJI386WDLOGIH
361   Wan Niu                                              AJP14G4YEDTTJ
362   yuyujianjianjian                                     AJTOTM4X5VQYZ
363   zijiangongsi                                         AK27I4P4JV34X
364   KMLSang                                              AK9W70LVP9RZP
365   SCIOLL                                               AKBEYF07LQ11Y
366   Putian Chengxiang Yayongka Trade Co., Ltd            ALLM06V57S6F
367   ouyanghaohao                                         ALLNKGSZXF684
368   HAIHUI-TANG                                          ALTDXQ1T9UBBB
369   ÂéüÂπ≥Â∏ÇË•øÈïáÁéãÈõ�Áôæ Ë¥ßÂ∫ó                      AMSGSDJW6X6YZ
370   chenweidianqu                                        ANY7NBXCDRQFH
371   anqingshuakanshangmaoyouxiangongsi741                AOAOOO0JGYZRH
372   huangzhilongshen                                     AOLPPBJGAKN9M
373   MIAN Toys                                            APPJ36EQWQCH9
374   EWG Store LLC                                        APXAZLXMGS1T6
375   Âé¶Èó®È�°‰ª îÁΩëÁª úÁßëÊäÄÊúâÈôêÂÖ¨ Âè∏              AR90MLKLUGC46
376   Èª éÁ´ ãÂïÜÈì∫                                       ARB7W5YSJUBS4
378   Ms. Zhao Store                                       ASNWC48Z4FP6N
379   xixianxinqukonggangxinchengfengtuzubaihuodian        ATWF0W22Y5RKN
380   Xueyou Shop                                          AU5Z7YVL8ZELN
381   Liuyang Jieyiqiu E-commerce Co., Ltd                 AU64KH4O1XMEU
382   Êó•ÁÖß‰ª üÁ¶æ ‰ø°ÊÅØÁßëÊäÄÊúâÈôêÂÖ¨ Âè∏              AUVGV2EAK6HR
383   Lwstust utst                                         AVAG2TJBSQLO7
384   wukuashangmao12                                      AVI248PK9PHRK
385   nansheshangmao                                       AVP3Y51F867IR
386   Bingons                                              AVUUFNB4OTC7U
387   PENGCHENG-GU                                         AWG5C6ZJSE78J
388   LELEbaihuo                                           AWJTU85HWPSTG
389   Áôæ ÊÉ†ÂïÜÂ∫ó                                        AX7VI25X7WRQP
390   BIG Piece                                            AXVCMK7Q3FBJL
391   juxishangmaoyouxiangongsi                            AY1OIW5YB7CQC
392   putianlichenglaixindianzishangwuyouxiangongsi        AYDLAR0M7ZCDK
393   Shiyicheng Trading                                   AYOGMCDGUDS02
394   ZOOYUU                                               AYS9IQT1JU12W
395   guoyangxiansuchushangmaoyouxiangongsi                AZU9MX86MEF8F


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396   HappyHappyShop                                       HappyHappyShop
397   RetroToysandBears                                    RetroToysandBears
398   4.60889                                              4.60889
399   9714980                                              9714980
400   11jiaohao10                                          11jiaohao10
401   20zhangyichi17                                       20zhangyichi17
403   aimdzy-6617                                          aimdzy-6617
404   ajng1198                                             ajng1198
405   arb_8290                                             arb_8290
406   augustmeow817                                        augustmeow817
407   b7f7pzoe                                             b7f7pzoe
408   bhadil-99                                            bhadil-99
409   bingbingbang-789                                     bingbingbang-789
411   caoweic1016                                          caoweic1016
412   caoweic12                                            caoweic12
413   cden-44                                              cden-44
414   charmwis0                                            charmwis0
415   chenshen188ff                                        chenshen188ff
416   cute_chibi                                           cute_chibi
417   ddw33612                                             ddw33612
418   dengpingx                                            dengpingx
419   deveraja0                                            deveraja0
420   devon_2405                                           devon_2405
421   dlve5725                                             dlve5725
422   duanxiajd                                            duanxiajd
423   enshishilanliansha-0                                 enshishilanliansha-0
424   everinfin_0                                          everinfin_0
425   fanzhimin                                            fanzhimin
426   fullcanvas                                           fullcanvas
427   fush1sj_2                                            fush1sj_2
428   hengkongmy87                                         hengkongmy87
429   hengkongmyau                                         hengkongmyau
430   hongkongxiexin_0                                     hongkongxiexin_0
431   hotsaletoy                                           hotsaletoy
432   houhongbo123                                         houhongbo123
433   huanghai21                                           huanghai21
435   huluwa2023                                           huluwa2023
436   ilfj49                                               ilfj49
437   kep-5513                                             kep-5513


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438   laoua-96                                             laoua-96
439   lollipopcorner                                       lollipopcorner
440   lucount                                              lucount
442   myparts01                                            myparts01
443   nathar_4183                                          nathar_4183
444   olgruz-66                                            olgruz-66
446   qunniu                                               qunniu
447   rkefnv_35                                            rkefnv_35
448   rongnue48                                            rongnue48
449   rounanchen                                           rounanchen
450   rtyhvctfygjbvc                                       rtyhvctfygjbvc
451   shanbi-977                                           shanbi-977
452   shih89                                               shih89
453   shijunlang1988                                       shijunlang1988
454   shijunlangsjl                                        shijunlangsjl
455   sunyongchen_362                                      sunyongchen_362
456   ta-703771                                            ta-703771
457   urasan                                               urasan
458   uvredtg                                              uvredtg
459   wanghongyan-00                                       wanghongyan-00
460   weiwanv-3                                            weiwanv-3
461   wisdomt                                              wisdomt
462   womstar3                                             womstar3
463   yanhonzhag-0                                         yanhonzhag-0
464   yanhui2018                                           yanhui2018
465   yazh1801                                             yazh1801
466   yiliu2018                                            yiliu2018
467   zete_1656                                            zete_1656
468   zhaochuncai                                          zhaochuncai
469   YYY-Store                                            YYY-Store
470   www.bigdis2008.com                                   www.bigdis2008.com
                                                           www.crazyanimewholes
471   www.crazyanimewholesale.com                          ale.com
472   insidegamers.co                                      insidegamers.co
473   vevegeek.com                                         vevegeek.com
474   Abrave man would                                     1.07215E+11
475   shenzhenshi kunpeng yuncang keji youxiangongsi       101137309
478   Deepstone                                            101222043
481   All- in Lucky store                                  101260151


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483   The King of Beuty &Toy                                 101267539
484   Grocery Shop                                           101281287
485   Gaming Club Stores                                     101293994
487   Sunflower                                              101338374
488   baiyibao                                               101345423
                                                             58bee569c0186350f00c
489   Xing bo shop                                           2021
                                                             5b2357ba2b041069476
490   Fantastic Figure                                       5a962
                                                             5d44eb8f76befe48c01d
491   Attractive Zone                                        e09f
                                                             5d8b3b58ddac8e1fe8c7
492   Big Collectors                                         c8be
                                                             5f0ea73865cec8faf67a2
493   qwlkdf                                                 acd
                                                             5f8d4d86d0d8da9f78e6
494   dirongtanzi                                            df4a
                                                             5fbfbee98d15ec01e8db
495   Cgdu                                                   10aa
                                                             5ff921d7ee9ff42bb1501
496   ioytgg                                                 7f3
                                                             600f82da8b0ac324180a
497   DaleGa                                                 afcd
                                                             600fb38a803697533044
498   BduC                                                   9882
                                                             60430176bdc7c444f3ac
499   sidueriukej                                            4d13
501   Guangzhou Youlian Trading Co., Ltd                     8634
502   Pujiang County Xier E-commerce Co., Ltd                8228
503   Guangzhou Keziwen Cosmetics Co., Ltd                   13191
504   Shenzhen Qushi Technology Co., Ltd                     9784
505   Guangzhou Xinyi Technology Store                       13173
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
506   Ltd                                                    13034
507   Guangzhou Xinyi Technology Store                       Seller3-101087374
508   Guangzhou Xinyi Technology Store                       Seller4-101087374
509   Changsha Dianhao Trading Co., Ltd                      12294
510   Guangzhou Xinyi Technology Store                       Seller6-101087374
511   Guangzhou Xinyi Technology Store                       Seller7-101087374
512   Guangzhou Xinyi Technology Store                       Seller8-101087374
513   Guangzhou Xinyi Technology Store                       Seller9-101087374


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514   Guangzhou Xinyi Technology Store                       Seller10-101087374
515   Guangzhou Boyou Technology Co., Ltd                    13172
516   Guangzhou Boyou Technology Co., Ltd                    Seller12-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
517   Ltd                                                    Seller13-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
518   Ltd                                                    Seller14-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
519   Ltd                                                    Seller15-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
520   Ltd                                                    Seller16-101087374
521   Guangzhou Boyou Technology Co., Ltd                    Seller17-101087374
522   Guangzhou Xinyi Technology Store                       Seller18-101087374
523   Guangzhou Xinyi Technology Store                       Seller19-101087374
524   Guangzhou Xinyi Technology Store                       Seller20-101087374
525   Guangzhou Xinyi Technology Store                       Seller21-101087374
526   Guangzhou Boyou Technology Co., Ltd                    Seller22-101087374
527   Guangzhou Boyou Technology Co., Ltd                    Seller23-101087374
528   Guangzhou Boyou Technology Co., Ltd                    Seller24-101087374
529   Guangzhou Xinyi Technology Store                       Seller25-101087374
530   Guangzhou Xinyi Technology Store                       Seller26-101087374
531   Guangzhou Xinyi Technology Store                       Seller27-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
532   Ltd                                                    Seller28-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
533   Ltd                                                    Seller29-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
534   Ltd                                                    Seller30-101087374
      Shenzhen Mengmeng Cross-border E-commerce Trade Co.,
535   Ltd                                                    Seller31-101087374
536   Shenzhen Qushi Technology Co., Ltd                     13663
537   Shenzhen Qushi Technology Co., Ltd                     Seller2-101118004
538   Shenzhen Qushi Technology Co., Ltd                     Seller3-101118004
539   Shenzhen Qushi Technology Co., Ltd                     Seller4-101118004




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